      Case 4:17-cv-04006-JST Document 579 Filed 11/01/23 Page 1 of 15




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16                               UNITED STATES DISTRICT COURT
17                              NORTHERN DISTRICT OF CALIFORNIA
18                                     OAKLAND DIVISION
19 REARDEN LLC and REARDEN MOVA                   Case No. 4:17-cv-04006-JST-SK
   LLC,
20                                                DEFENDANT’S NOTICE OF MOTION
                Plaintiffs,                       AND MOTION TO STRIKE PLAINTIFFS’
21                                                DEMAND FOR A JURY TRIAL ON
          vs.                                     DISGORGEMENT OF PROFITS
22
   WALT DISNEY PICTURES, a California
23 corporation,                                   Judge:   Hon. Jon S. Tigar
                                                  Ctrm.:   6 (2nd Floor)
24                Defendant.
25

26

27

28
                                                                Case No. 4:17-cv-04006-JST-SK
     NOTICE OF MOTION AND MOTION TO STRIKE PLAINTIFFS’ JURY DEMAND ON DISGORGEMENT OF
                                          PROFITS
         Case 4:17-cv-04006-JST Document 579 Filed 11/01/23 Page 2 of 15




 1                                                     TABLE OF CONTENTS
                                                                                                                                        Page
 2

 3 NOTICE OF MOTION AND MOTION TO STRIKE JURY DEMAND ON
        DISGORGEMENT OF PROFITS .........................................................................................1
 4
   MEMORANDUM OF POINTS AND AUTHORITIES ...................................................................1
 5
   I.   INTRODUCTION ..................................................................................................................1
 6
   II.  LEGAL STANDARD ............................................................................................................2
 7
   III. THERE IS NO STATUTORY OR CONSTITUTIONAL RIGHT TO A JURY
 8      TRIAL ON DISGORGEMENT OF DEFENDANT’S PROFITS .........................................3

 9             A.        Section 504(b) Of The Copyright Act Does Not Authorize A Jury Trial On
                         Disgorgement Of Defendant’s Profits ........................................................................3
10
                         1.         Nothing In The Text Or Structure Of The Statute Demonstrates
11                                  Congress’s Intent To Provide A Jury Trial Right For The Inherently
                                    Equitable Remedy Of Disgorgement .............................................................3
12
                         2.         The District Court Cases That Have Reached The Opposite
13                                  Conclusion Are Not Persuasive......................................................................5

14             B.        There Is No Seventh Amendment Right To A Jury Trial On Disgorgement
                         Of Defendant’s Profits ...............................................................................................7
15
     IV.       CONCLUSION ....................................................................................................................10
16

17

18

19

20

21

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27

28
                                                                        -i-
                                                                        Case No. 4:17-cv-04006-JST-SK
                      NOTICE OF MOTION AND MOTION TO STRIKE PLAINTIFFS’ JURY DEMAND
          Case 4:17-cv-04006-JST Document 579 Filed 11/01/23 Page 3 of 15




 1                                                  TABLE OF AUTHORITIES
 2                                                                                                                                  Page(s)
 3 FEDERAL CASES

 4 Adams v. Cyprus Amax Mins. Co.,
      149 F.3d 1156 (10th Cir. 1998) ....................................................................................................3
 5
   Assessment Techs. Inst., LLC v. Parkes,
 6    No. 19-2514-JAR, 2022 WL 588889 (D. Kan. Feb. 25, 2022) ................................................2, 4
 7 Bertuccelli v. Universal Studios LLC,
      No. CV 19-1304, 2021 WL 2227337 (E.D. La. June 2, 2021) ................................................4, 8
 8

 9 Capture Eleven Grp. v. Otter Prods., LLC,
      No. 1:20-CV-02551-CNS-KLM, 2023 WL 5573966 (D. Colo. May 31, 2023) .....................5, 6
10
   Chauffeurs, Teamsters & Helpers, Loc. No. 391 v. Terry,
11    494 U.S. 558 (1990) .................................................................................................................1, 6
12 City of Monterey v. Del Monte Dunes at Monterey, Ltd.,
       526 U.S. 687 (1999) .................................................................................................................3, 5
13

14 Dairy Queen, Inc. v. Wood,
      369 U.S. 469 (1962) ...............................................................................................................9, 10
15
   Exp. Grp. v. Reef Indus., Inc.,
16    54 F.3d 1466 (9th Cir. 1995) ........................................................................................................9

17 Fair Isaac Corp. v. Fed. Ins. Co.,
       468 F. Supp. 3d 1110 (D. Minn. 2020) ............................................................................2, 4, 7, 9
18
   Feltner v. Columbia Pictures Television, Inc.,
19
       523 U.S. 340 (1998) .......................................................................................................1, 5, 6, 10
20
   Fifty-Six Hope Rd. Music, Ltd. v. A.V.E.L.A., Inc.,
21     778 F.3d 1059 (9th Cir. 2015) ........................................................................................1, 7, 9, 10

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      No. 2:19-CV-00050-RWS-RSP, 2021 WL 2339193 (E.D. Tex. June 8, 2021).......................5, 6
23
   JL Beverage Co., LLC v. Jim Beam Brands Co.,
24    815 F. App’x 110 (9th Cir. 2020) (Friedland, J., concurring) ........................................2, 6, 9, 10
25
   Kingsbury v. U.S. Greenfiber, LLC,
26    No. CV 08-151 DSF, 2013 WL 12121540 (C.D. Cal. Nov. 4, 2013) ..........................................2

27 Navarro v. Procter & Gamble Co.,
      529 F. Supp. 3d 742 (S.D. Ohio 2021) ........................................................................... 2, passim
28
                                                                         -ii-
                                                                          Case No. 4:17-cv-04006-JST-SK
                        NOTICE OF MOTION AND MOTION TO STRIKE PLAINTIFFS’ JURY DEMAND
          Case 4:17-cv-04006-JST Document 579 Filed 11/01/23 Page 4 of 15




 1 Petrella v. Metro-Goldwyn-Mayer, Inc.,
       572 U.S. 663 (2014) .................................................................................................................1, 8
 2
   S.E.C. v Rind,
 3     991 F.2d 1486 (9th Cir. 1993) ......................................................................................................7
 4
   Sheldon v. Metro-Goldwyn Pictures Corp.,
 5    309 U.S. 390 (1940) .....................................................................................................................6

 6 Sid & Marty Krofft Television Productions, Inc. v. McDonald’s Corp.,
       562 F.2d 1157 (9th Cir. 1977) ........................................................................................ 1, passim
 7
   Siegel v. Warner Bros. Ent. Inc.,
 8     581 F. Supp. 2d 1067 (C.D. Cal. 2008) ........................................................................................5
 9
   Skidmore as Tr. for Randy Craig Wolfe Tr. v. Led Zeppelin,
10     952 F.3d 1051 (9th Cir. 2020) ......................................................................................................8

11 In re Stansbury Poplar Place, Inc.,
       13 F.3d 122 (4th Cir. 1993) ..........................................................................................................4
12
   Swofford v. B & W, Inc.,
13     336 F.2d 406 (5th Cir. 1964) ....................................................................................................8, 9
14 Tex. Advanced Optoelectronic Sols., Inc. v. Renesas Elecs. Am., Inc.,

15    895 F.3d 1304 (Fed. Cir. 2018) ...................................................................................... 2, passim

16 Tracinda Corp. v. DaimlerChrysler AG,
       502 F.3d 212 (3d Cir. 2007) .........................................................................................................2
17
   Tull v. United States,
18     481 U.S. 412 (1987) .............................................................................................................2, 3, 7
19 United States v. Schoenborn,
      860 F.2d 1448 (8th Cir. 1988) ......................................................................................................2
20

21 FEDERAL STATUTES

22 17 U.S.C. § 504(b) ............................................................................................................... 1, passim

23 FEDERAL RULES

24 Fed. R. Civ. P. 38(a) ...........................................................................................................................2

25 Fed. R. Civ. P. 39(a)(2) ......................................................................................................................2

26

27

28
                                                                           -iii-
                                                                           Case No. 4:17-cv-04006-JST-SK
                         NOTICE OF MOTION AND MOTION TO STRIKE PLAINTIFFS’ JURY DEMAND
         Case 4:17-cv-04006-JST Document 579 Filed 11/01/23 Page 5 of 15




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   Pamela Samuelson et. al., Recalibrating the Disgorgement Remedy in Intellectual
 5    Property Cases, 100 B.U. L. Rev. 1999, 2057 (2020) .................................................................7

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                                                                     -iv-Case No. 4:17-cv-04006-JST-SK
                       NOTICE OF MOTION AND MOTION TO STRIKE PLAINTIFFS’ JURY DEMAND
          Case 4:17-cv-04006-JST Document 579 Filed 11/01/23 Page 6 of 15




 1             NOTICE OF MOTION AND MOTION TO STRIKE JURY DEMAND ON
                             DISGORGEMENT OF PROFITS
 2
             PLEASE TAKE NOTICE that Defendant will and hereby does move this Court, pursuant
 3
     to Fed. R. Civ. P. 39(a)(2), to strike Plaintiffs’ jury demand on the question of disgorgement of
 4
     Defendant’s profits under 17 U.S.C. § 504(b). Disgorgement is an equitable remedy. Section
 5
     504(b) does not itself authorize a jury trial for disgorgement, and there is no Seventh Amendment
 6
     right to a jury trial for this claim.
 7
             This Motion is based on this Notice of Motion and Motion; the Memorandum of Points
 8
     and Authorities; the pleadings, papers, and such other evidence and argument presented to the
 9
     Court at or prior to any hearing in this matter.
10
                            MEMORANDUM OF POINTS AND AUTHORITIES
11
     I.      INTRODUCTION
12
             Plaintiffs have a single remaining demand for damages: disgorgement of a portion of
13
     Defendants’ profits pursuant to 17 U.S.C. § 504(b). But there is no statutory or Seventh
14
     Amendment right to a jury trial on disgorgement of profits under Section 504(b), just as there is no
15
     right to a jury trial on the equitable remedy of disgorgement generally. Fifty-Six Hope Rd. Music,
16
     Ltd. v. A.V.E.L.A., Inc., 778 F.3d 1059, 1075 (9th Cir. 2015) (“[A]ctions for disgorgement of
17
     improper profits are equitable in nature”); see also Chauffeurs, Teamsters & Helpers, Loc. No.
18
     391 v. Terry, 494 U.S. 558, 570 (1990) (“[W]e have characterized damages as equitable where
19
     they are restitutionary, such as in ‘action[s] for disgorgement of improper profits.’”).
20
             There is no controlling Supreme Court or Ninth Circuit decision on this issue. Feltner v.
21
     Columbia Pictures Television, Inc., 523 U.S. 340 (1998) said in dicta that “awards of actual
22
     damages and profits, see § 504(b), … generally are thought to constitute legal relief.” Id. at 346.
23
     However, the Court’s more recent decision in Petrella v. Metro-Goldwyn-Mayer, Inc., 572 U.S.
24
     663 (2014), characterized “disgorgement of unjust gains” as “equitable relief” in at least some and
25
     possibly all cases under Section 504(b). Id. at 686. Sid & Marty Krofft Television Productions,
26
     Inc. v. McDonald’s Corp., 562 F.2d 1157 (9th Cir. 1977), said that an accounting for copyright
27
     profits under the 1909 Copyright Act is a legal remedy. Id. at 1175. But this language from Krofft
28
                                                        -1-          Case No. 4:17-cv-04006-JST-SK
                   NOTICE OF MOTION AND MOTION TO STRIKE PLAINTIFFS’ JURY DEMAND
         Case 4:17-cv-04006-JST Document 579 Filed 11/01/23 Page 7 of 15




 1 was dicta and, in any event, it addressed the 1909 Act, not the 1976 Copyright Act. More

 2 recently, three district courts outside the Ninth Circuit have thoroughly analyzed the statutory and

 3 Seventh Amendment issues and held there is no jury trial right on the disgorgement remedy.

 4 Navarro v. Procter & Gamble Co., 529 F. Supp. 3d 742, 748-49 (S.D. Ohio 2021); Fair Isaac

 5 Corp. v. Fed. Ins. Co., 468 F. Supp. 3d 1110, 1118 (D. Minn. 2020); Assessment Techs. Inst., LLC

 6 v. Parkes, No. 19-2514-JAR, 2022 WL 588889 (D. Kan. Feb. 25, 2022). The Federal Circuit

 7 reached a similar conclusion in determining that disgorgement of profits for patent, trademark, or

 8 copyright infringement is an equitable remedy. Tex. Advanced Optoelectronic Sols., Inc. v.

 9 Renesas Elecs. Am., Inc., 895 F.3d 1304, 1324 (Fed. Cir. 2018). And one Judge of the Ninth

10 Circuit has written that Krofft was inconsistent with Supreme Court and Ninth Circuit authority on

11 the Seventh Amendment issue. JL Beverage Co., LLC v. Jim Beam Brands Co., 815 F. App’x

12 110, 115 (9th Cir. 2020) (Friedland, J., concurring).

13          For the reasons set forth herein, Plaintiffs’ demand for a jury trial on this issue should be

14 stricken. A jury will determine Plaintiffs’ sole remaining claim whether Defendant is liable for

15 vicarious copyright infringement. If the jury does so find, it will be for the Court to decide

16 whether Defendant must disgorge any profits from Beauty and the Beast, and if so, what amount.

17 II.      LEGAL STANDARD

18          If the Court “on motion or on its own, finds that … there is no federal right to a jury trial”

19 on “some or all of those issues” for which Plaintiffs have demanded a jury, the Court may strike

20 the demand. Fed. R. Civ. P. 39(a)(2). “‘[A] court has the discretion to permit a motion to strike a

21 jury demand at any time, even on the eve of trial.’” Kingsbury v. U.S. Greenfiber, LLC, No. CV

22 08-151 DSF (AGRx), 2013 WL 12121540, at *1 (C.D. Cal. Nov. 4, 2013) (quoting Tracinda

23 Corp. v. DaimlerChrysler AG, 502 F.3d 212, 226–27 (3d Cir. 2007)); see also United States v.

24 Schoenborn, 860 F.2d 1448, 1455 (8th Cir. 1988) (motion to strike granted “the day before trial”).

25          Litigants have a right to a jury trial if that right either is created by federal statute or

26 guaranteed by the Seventh Amendment. See Fed. R. Civ. P. 38(a). In determining whether a jury

27 right exists, courts first ask whether such a right is created by statute. Tull v. United States, 481

28
                                                        -2-         Case No. 4:17-cv-04006-JST-SK
                  NOTICE OF MOTION AND MOTION TO STRIKE PLAINTIFFS’ JURY DEMAND
       Case 4:17-cv-04006-JST Document 579 Filed 11/01/23 Page 8 of 15




 1 U.S. 412, 417 & n.3 (1987). If there is no statutory right, courts then ask whether the Seventh

 2 Amendment guarantees the right to a jury trial. Id.

 3 III.     THERE IS NO STATUTORY OR CONSTITUTIONAL RIGHT TO A JURY
            TRIAL ON DISGORGEMENT OF DEFENDANT’S PROFITS
 4
            A.      Section 504(b) Of The Copyright Act Does Not Authorize A Jury Trial On
 5                  Disgorgement Of Defendant’s Profits

 6                  1.      Nothing In The Text Or Structure Of The Statute Demonstrates
                            Congress’s Intent To Provide A Jury Trial Right For The Inherently
 7                          Equitable Remedy Of Disgorgement

 8          On a federal claim, there is no right to a jury trial where the statute sets forth no “express

 9 … right” and there is “no evidence of congressional intent to grant the right to a jury trial.”

10 Adams v. Cyprus Amax Mins. Co., 149 F.3d 1156, 1159 (10th Cir. 1998); see Tull, 481 U.S. at 417

11 n.3 (no statutory right where “[n]othing in the language of” the statute “or its legislative history

12 implies any congressional intent” to have issue tried by jury). Nothing in Section 504(b)’s text or

13 legislative history shows that Congress intended to authorize a jury trial for disgorgement.

14          Section 504(b) provides in full:

15                   (b) Actual Damages and Profits.--The copyright owner is entitled to
            recover the actual damages suffered by him or her as a result of the infringement,
16          and any profits of the infringer that are attributable to the infringement and are not
            taken into account in computing the actual damages. In establishing the infringer's
17          profits, the copyright owner is required to present proof only of the infringer's gross
            revenue, and the infringer is required to prove his or her deductible expenses and
18          the elements of profit attributable to factors other than the copyrighted work.

19          Nothing in the text of this provision authorizes a jury trial. Nor does anything in the text of

20 Section 504, the remedies section of Title 17, 17 U.S.C. § 501 et seq., or the entire Copyright Act

21 reference the right to a jury trial on disgorgement. Section 504(b) provides for the recovery of two

22 types of damages: “actual damages” and disgorgement of profits. Actual damages—what the

23 plaintiff lost as the result of the defendant’s infringement—are quintessentially legal. But the

24 mere fact that a statute provides for both legal and equitable remedies does not demonstrate a

25 Congressional intent that a jury must decide both forms of relief. In a case presenting an

26 analogous issue, the Supreme Court held that 42 U.S.C. § 1983 did not create a statutory right to a

27 jury, notwithstanding the statute’s authorization of an “action at law.” City of Monterey v. Del

28 Monte Dunes at Monterey, Ltd., 526 U.S. 687, 708 (1999).
                                                      -3-           Case No. 4:17-cv-04006-JST-SK
                  NOTICE OF MOTION AND MOTION TO STRIKE PLAINTIFFS’ JURY DEMAND
       Case 4:17-cv-04006-JST Document 579 Filed 11/01/23 Page 9 of 15




 1          The fact that Section 504(b) instructs that the disgorgement award exclude profits already

 2 “taken into account in computing the actual damages,” does not change the analysis. As an initial

 3 matter, Rearden has no actual damages claim. Therefore, the Court will not need to determine

 4 “the extent to which the jury took the profits ‘into account’ in fashioning the actual damages

 5 award.” Navarro, 529 F. Supp. 3d at 748-49.

 6          More fundamentally, it is a core tenet of statutory interpretation that courts will not imply a

 7 statutory right, including a right to a jury trial, merely because “the power to be implied is

 8 consistent with the legislation … Rather, the power to be implied … must be practically

 9 indispensable and essential in order to execute the power actually conferred.” In re Stansbury

10 Poplar Place, Inc., 13 F.3d 122, 128 (4th Cir. 1993) (quoting 2B Sutherland Stat. Constr. § 55:3

11 (7th ed.).) The requirement that any disgorgement award exclude actual damages simply

12 embodies the rule against double recovery. The inclusion of this language in Section 504(b) does

13 not indicate that Congress intended that a jury had to decide both forms of relief allowed under

14 Section 504(b).

15          Section 504(b)’s legislative history further confirms that Congress did not intend for the

16 jury, rather than the court, to decide disgorgement. On the contrary:

17          [T]he House Report that accompanied the 1976 amendment to the Copyright Act[,]
            … in discussing the ‘profits attributable to the infringement’ language in § 504(b)
18          …said that ‘where some of the defendant’s profits result from the infringement and
            other profits are caused by different factors, it will be necessary for the court to
19          make an apportionment.’

20 Id. at 749 (emphasis added); see also Fair Isaac, 468 F. Supp. 3d at 1118 (discussing the same

21 legislative history and finding no statutory right to a jury trial).

22          The majority of courts, and two thoroughly reasoned published decisions on this issue,

23 have found there is no statutory right to a jury trial for disgorgement of profits under Section

24 504(b). Navarro, 529 F. Supp. 3d at 752; Fair Isaac, 468 F. Supp. 3d at 1118; see also

25 Assessment Techs. Inst., LLC, 2022 WL 588889, at *2 (“There is simply no clear provision in the

26 Copyright Act that creates a jury trial right for disgorgement of profits, and this Court declines to

27 infer congressional intent from the absence of the word ‘court’ in § 504(b)”); Bertuccelli v.

28 Universal Studios LLC, No. CV 19-1304, 2021 WL 2227337, at *2 (E.D. La. June 2, 2021)
                                                       -4-          Case No. 4:17-cv-04006-JST-SK
                  NOTICE OF MOTION AND MOTION TO STRIKE PLAINTIFFS’ JURY DEMAND
         Case 4:17-cv-04006-JST Document 579 Filed 11/01/23 Page 10 of 15




 1 (Section 504(b) “makes no reference of a right to jury trial, and … [i]mplying such a right would

 2 require reaching beyond the statute's language, an exercise the Supreme Court has warned against

 3 in similar situations.”).1 Those courts are correct. “When Congress wants to create a right to trial

 4 by jury, it knows how to say so,” Navarro, 529 F. Supp. 3d at 748, and the fact it did not do so

 5 here is further proof that Congress did not intend to turn an equitable remedy into a legal remedy

 6 to which a jury right attaches.

 7                  2.      The District Court Cases That Have Reached The Opposite Conclusion
                            Are Not Persuasive
 8
             Defendant has located two unpublished district court decisions that reach the opposite
 9
     conclusion. See Capture Eleven Grp. v. Otter Prods., LLC, No. 1:20-CV-02551-CNS-KLM, 2023
10
     WL 5573966 (D. Colo. May 31, 2023); Huffman v. Activision Publ’g, Inc., No. 2:19-CV-00050-
11
     RWS-RSP, 2021 WL 2339193, at *5 (E.D. Tex. June 8, 2021). Defendant respectfully submits
12
     the reasoning in those cases does not withstand analysis.
13
             To begin, both decisions erred in placing significant weight on the fact that Section 504(b)
14
     “combin[es] both ‘actual damages’ (an indisputably legal remedy) and ‘any profits of the
15
     infringer’ within the same statutory provision.” Capture Eleven Grp., 2023 WL 5573966, at *2
16
     (citing and quoting Huffman for this proposition). As discussed, the Supreme Court has rejected
17
     that type of reasoning in interpreting 42 U.S.C. § 1983. See City of Monterey, 526 U.S. at 708.
18
     Neither Capture Eleven nor Huffman grapples with that authority. Both decisions additionally
19
     failed to cite, much less refute the significance of, the legislative history showing that Congress
20
     intended for “the court to make an apportionment” of profits.
21
             Both decisions also overread dicta from the Supreme Court’s decision in Feltner. Feltner
22
     held that Congress did not intend to create a jury right to determine statutory damages under
23
     Section 504(c). (The Court went on to hold that there is a right to a jury trial on all issues
24
     pertinent to statutory damages, including the amount of the statutory award itself.) In reaching its
25

26   1
    At least one district court case in the Ninth Circuit reached the Seventh Amendment question
27 without ruling on the statutory issue. It concluded that there was no right to a jury trial on an
   accounting for profits between two parties that court had determined were co-owners of a
28 copyright. Siegel v. Warner Bros. Ent. Inc., 581 F. Supp. 2d 1067, 1071 (C.D. Cal. 2008).
                                                       -5-          Case No. 4:17-cv-04006-JST-SK
                  NOTICE OF MOTION AND MOTION TO STRIKE PLAINTIFFS’ JURY DEMAND
      Case 4:17-cv-04006-JST Document 579 Filed 11/01/23 Page 11 of 15




 1 conclusion on the question of what Congress intended, Feltner noted “the Copyright Act does not

 2 use the term ‘court’ in the subsection addressing awards of actual damages and profits, see §

 3 504(b), which generally are thought to constitute legal relief.” Feltner, 523 U.S. at 346. Based on

 4 that statement, Capture Eleven and Huffman reasoned that the fact that Section 504(b) does not

 5 refer to “the court” shows that Congress intended to create a jury trial right for all forms of relief

 6 authorized by that provision.

 7          As the Federal Circuit has explained, the cases Feltner cited in support of its “legal relief”

 8 statement “related to only ‘damages,’ not ‘profits’.” Tex. Advanced Optoelectronic Sols., Inc., 895

 9 F.3d at 1325 n.11. The passing statement from Feltner is contrary to the Supreme Court’s broader

10 disgorgement jurisprudence, which holds generally that the “‘disgorgement of improper profits’”

11 is an equitable remedy. See, e.g., Terry, 494 U.S. at 570.

12          Capture Eleven and Huffman also erred in failing to weigh the fact that copyright

13 disgorgement historically has been an equitable remedy. As the Supreme Court has explained,

14 prior to the enactment of the 1909 Copyright Act, “there had been no statutory provision for the

15 recovery of profits, but that recovery had been allowed in equity both in copyright and patent

16 cases.” Sheldon v. Metro-Goldwyn Pictures Corp., 309 U.S. 390, 399 (1940) (emphasis added).

17 Thus,

18          In possing [sic] the Copyright Act, the apparent intention of Congress was to
            assimilate the remedy with respect to the recovery of profits to that already
19          recognized in patent cases. Not only is there no suggestion that Congress intended
            that the award of profits should be governed by a different principle in copyright
20          cases but the contrary is clearly indicated by the committee reports on the bill.

21 Id. at 400 (emphasis added). “And in both the trademark and copyright contexts, the theoretical

22 justification for awarding profits was based on an analogy to the equitable remedy of a

23 constructive trust, also called a trust ex maleficio.” JL Beverage Co., 815 F. App’x at 115

24 (Friedland, J., concurring).

25          “Given its history as a form of equitable relief, there is little reason to believe that

26 Congress would have intended, by implication, to create a jury trial right when it added this relief

27 to the statute.” Navarro, 529 F. Supp. 3d at 748. Neither Capture Eleven nor Huffman provide

28 any basis to conclude otherwise.
                                                       -6-          Case No. 4:17-cv-04006-JST-SK
                  NOTICE OF MOTION AND MOTION TO STRIKE PLAINTIFFS’ JURY DEMAND
       Case 4:17-cv-04006-JST Document 579 Filed 11/01/23 Page 12 of 15




 1          B.        There Is No Seventh Amendment Right To A Jury Trial On Disgorgement Of
                      Defendant’s Profits
 2
            The Seventh Amendment right is “narrow” and “‘preserve[s] the basic institution of jury
 3
     trial in only its most fundamental elements.” Fifty-Six Hope Rd., 778 F.3d at 1075 (quoting Tull,
 4
     481 U.S. at 426). “To determine whether a particular claim invokes” the Seventh Amendment
 5
     right, courts “(1) “must ‘compare the statutory action to the 18th-century actions brought in the
 6
     courts of England prior to merger of the courts of law and equity,’” and (2) “must ‘examine the
 7
     remedy sought and determine whether it is legal or equitable in nature.’” Id. (quoting S.E.C. v
 8
     Rind, 991 F.2d 1486, 1493 (9th Cir. 1993)).
 9
            A long line of cases establishes the general principle that “actions for disgorgement of
10
     improper profits are equitable in nature” and therefore do not fall within the Seventh
11
     Amendment’s limited guarantee. Fifty-Six Hope Rd., 778 F.3d at 1075. As discussed, the history
12
     of the copyright disgorgement remedy confirms that remedy, too, was traditionally equitable. See
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     supra pp. 4-6.
14
            Several courts that have expressly considered the issue have said that no Seventh
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     Amendment right attaches to a claim under copyright for the disgorgement of the defendant’s
16
     profits. In Texas Advanced Optoelectronic Solutions, Inc., the Federal Circuit said: “As for
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     copyright and trademark infringement, we have seen no support for concluding that disgorgement
18
     of profits was available at law for those wrongs.” 895 F.3d at 1324–25. The court in Navarro
19
     exhaustively reviewed the history and held: “Based on the history of the disgorgement award in
20
     actions for copyright infringement, there can be little question that such awards are equitable,
21
     rather than legal.” 529 F. Supp. 3d at 752. And Fair Isaac held: “Even though copyright
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     infringement is a legal claim, a determination of profits arising from the claim is not traditionally a
23
     question for the jury,” and so the Seventh Amendment does not apply. 468 F. Supp. 3d at 1118.
24
     See also Pamela Samuelson et. al., Recalibrating the Disgorgement Remedy in Intellectual
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     Property Cases, 100 B.U. L. Rev. 1999, 2057 (2020) (collecting scholarship concluding that
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     disgorgement of copyright profits is not a jury issue and arguing that courts should guard against
27

28
                                                       -7-          Case No. 4:17-cv-04006-JST-SK
                  NOTICE OF MOTION AND MOTION TO STRIKE PLAINTIFFS’ JURY DEMAND
         Case 4:17-cv-04006-JST Document 579 Filed 11/01/23 Page 13 of 15




 1 “excessive disgorgement awards [that] may incent potential infringers to take excessive

 2 precautions and chill socially productive activities.”). 2

 3           Recently, the Supreme Court, “[w]hile not faced with the Seventh Amendment question…

 4 recognized the equitable nature of disgorgement for a particular tort involving intellectual

 5 property.” Tex. Advanced Optoelectronic Sols., 895 F.3d at 1324-25 & n.9 (discussing Petrella,

 6 572 U.S. 663). In Petrella, the Supreme Court described the copyright plaintiffs’ request for

 7 “disgorgement of unjust gains and an injunction” as “equitable relief”; the Court said that,

 8 “[g]iven the ‘protean character’ of the profits-recovery remedy . . . we regard as appropriate its

 9 treatment as ‘equitable’ in this case.” Petrella, 572 U.S. at 667 & n.1. As the Nimmer treatise

10 explains, Petrella “leaned towards treating profits on the equitable side of the ledger” and

11 “[s]ubsequent authority has so held.” 5 Nimmer on Copyright § 14.03.

12           The Ninth Circuit’s decision in Krofft does not mandate a different result. The court in that

13 copyright infringement case quoted with approval the Fifth Circuit’s determination that

14 disgorgement of profits in a patent case was “basically a money claim for damages.” Krofft, 562

15 F.2d at 1175 (quoting Swofford v. B & W, Inc., 336 F.2d 406, 411 (5th Cir. 1964)). 3

16 Notwithstanding that statement, Krofft does not control for several reasons.

17           First, this language in Krofft was dicta. Krofft did opine there was a right to a jury trial for

18 an accounting of profits under the 1909 Copyright Act. But that conclusion was not necessary to

19 the court’s decision because the parties there agreed the jury would not consider profits. Krofft,

20 562 F.2d at 1175 (“It is clear from our analysis of the Pre-Trial Conference Order and jury

21 instructions that the parties did not intend the jury to consider profits.”). Had Krofft wholly

22 omitted the discussion of a jury trial right, the holding in the case would have been exactly the

23 same: the parties agreed, as they were allowed to do, to submit profits to the court rather than a

24 jury. Where a court’s “statements were not necessary to the decision [they] have no binding or

25
     2
26   One district court found no statutory right to a jury trial for copyright disgorgement but decided,
   with little analysis, that “reserving the right to jury trial here is constitutionally appropriate in
27 light of relative uncertainty” regarding whether Petrella meant all copyright disgorgement was
   equitable. Bertuccelli, 2021 WL 2227337, at *2 .
28 3 Krofft was overruled on other grounds in Skidmore as Tr. for Randy Craig Wolfe Tr. v. Led
   Zeppelin, 952 F.3d 1051 (9th Cir. 2020).
                                                       -8-                       Case No. 4:17-cv-04006-JST-SK
                  NOTICE OF MOTION AND MOTION TO STRIKE PLAINTIFFS’ JURY DEMAND
      Case 4:17-cv-04006-JST Document 579 Filed 11/01/23 Page 14 of 15




 1 precedential impact.” Exp. Grp. v. Reef Indus., Inc., 54 F.3d 1466, 1472 (9th Cir. 1995).

 2 Moreover, “[s]ince Krofft was decided, [the Ninth Circuit has] not relied on its jury trial analysis

 3 in any published decision.” JL Beverage Co., 815 F. App’x at 116 (Friedland, J., concurring).

 4          Second, as noted, Krofft involved a claim for an accounting of profits under the 1909

 5 Copyright Act. The case did not involve and did not purport to construe Section 504(b) of the

 6 1976 Copyright Act. The Fifth Circuit case quoted by Krofft leaned heavily on what it concluded

 7 was the historical rule that “an accounting for profits, although a creature of equity, is a rule of

 8 administration and not of jurisdiction.” Swofford, 336 F.2d at 411. Subsequent courts and

 9 commentators, however, have demonstrated that Swofford’s historical analysis was incorrect. See,

10 e.g., Fair Isaac, 408 F. Supp. 3d at 1029 (“[C]lose scrutiny of Swofford and the 19th-century

11 Supreme Court decisions on which it rests – primarily Root v. Lake Shore & M.S. Rwy. Co. –

12 demonstrates that both Swofford and Sid & Marty Krofft misconstrued or misapplied the precedent

13 on which they purported to rely.”). In any event, the historical meaning and application of an

14 accounting remedy does not address whether a party seeking only disgorgement of profits for

15 copyright infringement under Section 504(b) has a right to a jury trial on that issue.

16          Third, the Ninth Circuit has overruled the underpinnings of the Krofft dicta. Krofft and

17 Swofford both relied on the Supreme Court’s decision Dairy Queen, Inc. v. Wood, 369 U.S. 469,

18 475 (1962), a trademark case. Krofft said Dairy Queen meant that a trademark plaintiff who seeks

19 both actual damages and an accounting of profits has a right to a jury trial on both issues, and that

20 the same result should follow in copyright cases. Krofft, 562 F.2d at 1175. But the Ninth Circuit

21 has subsequently rejected that reading of Dairy Queen in the trademark context, holding expressly

22 that trademark disgorgement is an equitable remedy. Fifty-Six Hope Rd. Music, 778 F.3d at 1075.

23 Dairy Queen “does not broadly hold that a Lanham Act claim for disgorgement of profits is a legal

24 claim. Rather, the Supreme Court characterizes the Dairy Queen claim as a legal claim for

25 damages (not disgorgement of profits).” Id. And, in fact, “[a]fter the Dairy Queen decision,

26 almost all courts have held that there is no right to trial by jury if the only monetary remedy the

27 trademark owner seeks is an accounting of the alleged infringer's profits.” 6 McCarthy on

28 Trademarks and Unfair Competition § 32:124 (5th ed.); JL Beverage Co., 815 F. App’x at 116
                                                      -9-           Case No. 4:17-cv-04006-JST-SK
                  NOTICE OF MOTION AND MOTION TO STRIKE PLAINTIFFS’ JURY DEMAND
         Case 4:17-cv-04006-JST Document 579 Filed 11/01/23 Page 15 of 15




 1 (Friedland, J., concurring) (“Both the Supreme Court and our court have observed that Dairy

 2 Queen’s holding was about a claim for damages, not a claim for disgorgement of profits.”). 4 As

 3 Fifty-Six Hope Road recognizes, Krofft and the Fifth Circuit case on which it relies simply misread

 4 Dairy Queen and reached a result that cannot be reconciled with modern Ninth Circuit

 5 jurisprudence.

 6           Finally, the fact that the concurring Judge in JL Beverage Co. called for Krofft to be

 7 reexamined does not mean that Krofft is binding authority on the Seventh Amendment right to a

 8 jury trial on the disgorgement remedy under Section 504(b). That fact indicates instead that at

 9 least one Ninth Circuit judge (the only one to have examined the issue in a court decision) believes

10 the Krofft dicta was in error and should be reevaluated.

11 IV.       CONCLUSION

12           There is no statutory or Seventh Amendment right to have a jury decide Plaintiffs’ claim

13 for disgorgement of profits under 17 U.S.C. § 504(b). Accordingly, Defendant respectfully

14 requests that the Court strike Plaintiffs’ jury demand as to that claim.

15

16
     DATED: November 1, 2023                    MUNGER, TOLLES & OLSON LLP
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19                                              By:           /s/ Kelly M. Klaus
                                                              KELLY M. KLAUS
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                                                Attorneys for Defendants
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    The dicta from Feltner, discussed above, similarly cites to Dairy Queen. As noted, the Federal
28 Circuit has explained that Dairy Queen and the other sources cited in Feltner all refer to monetary
   damages, not profits. Tex. Advanced Optoelectronic Sols., Inc., 895 F.3d at 1325.
                                                 -10-                     Case No. 4:17-cv-04006-JST-SK
                  NOTICE OF MOTION AND MOTION TO STRIKE PLAINTIFFS’ JURY DEMAND
